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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVNIA

KEVIN H. BOGGS                             )
                                           )
                     Plaintiff,            )
                                           )
v.
                                           )
                                           )       Case No. 2:18-cv-04007-JD
RADIUS GLOBAL SOLUTIONS                    )
                                           )
                     Defendant.            )

                    RADIUS GLOBAL SOLUTIONS, LLC, LLC’S
                     ANSWER AND AFFIRMATIVE DEFENSES

       Defendant, Radius Global Solutions, LLC (“RGS”), through undersigned counsel

and pursuant to the Federal Rules of Civil Procedure, states for its answer and affirmative

defenses to the complaint filed by plaintiff, Kevin H. Boggs, as follows:

                                      COMPLAINT

       1.     RGS denies the allegations in ¶ 1 for lack of knowledge or information to

form a reasonable belief therein.

       2.     RGS admits that it is a limited liability company that has an office located

at 7831 Glenroy Road, Suite 250, Edina, Minnesota. Except as specifically admitted,

RGS denies the allegations in ¶ 2.

       3.     RGS denies the allegations in ¶ 3 for lack of knowledge or information to

form a reasonable belief therein and as calling for a legal conclusion.

                             JURISDICTION AND VENUE

       4.     RGS denies the allegations in ¶ 4 as calling for a legal conclusion.



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       5.      RGS denies the allegations in ¶ 5 as calling for a legal conclusion.

       6.      RGS denies the allegations in ¶ 6 as calling for a legal conclusion.

       7.      RGS denies the allegations in ¶ 7 as calling for a legal conclusion.

                                         PARTIES

       8.      RGS denies the allegations in ¶ 8 for lack of knowledge or information to

form a reasonable belief therein.

       9.      RGS denies the allegations in ¶ 9 as calling for a legal conclusion.

       10.     RGS admits only that part of its business includes the collection of unpaid

accounts or obligations and has an office located at the address listed in ¶ 10. Except as

specifically admitted, RGS denies the allegations in ¶ 10.

       11.     RGS denies the allegations in ¶ 11 as written and calling for a legal

conclusion.

       12.     RGS denies the allegations in ¶ 12 for lack of knowledge or information to

form a reasonable belief therein and as calling for a legal conclusion.

                               FACTUAL ALLEGATIONS

       13.     RGS admits only that it contacted plaintiff in a lawful attempt to collect an

unpaid account or obligation, but denies any and all damages, liability and/or violations

to the extent alleged in ¶ 13. Except as specifically admitted, RGS denies the allegations

in ¶ 13.

       14.     RGS denies the allegations in ¶ 14.

       15.     RGS denies the allegations in ¶ 15.

       16      RGS denies the allegations in ¶ 16.


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       17.     RGS denies the allegations in ¶ 17.

       18.     RGS denies the allegations in ¶ 18.

       19.     RGS denies the allegations in ¶ 19.

                              COUNT I
          THE FAIR DEBT COLLECTION PRACTICES ACT (“FDCPA”)

       20.     RGS denies the allegations in ¶ 20, including subparagraphs (a) through

(d), and further denies plaintiff is entitled to any relief.

       In response to the paragraph beginning with WHEREFORE under Count I, RGS

denies that plaintiff is entitled to the relief sought, including subparagraphs (a) through

(d).

                                COUNT TWO
              THE PENNSYLVANIA UNFAIR TRADE PRACTICES ACT AND
                   CONSUMER PROTECTION LAW (“UFTPL”)

       21.     RGS reasserts the foregoing as if fully stated herein.

       22.     RGS denies the allegations in ¶ 22 as calling for a legal conclusion.

       23.     RGS denies the allegations in ¶ 23 as calling for a legal conclusion.

       24.     The Pennsylvania Unfair Trade Practices and Consumer Protection Act, 73

P.S. § 20102(4) speaks for itself and is the best evidence of its contents. To the extent the

allegations state otherwise, they are denied.

       25.     RGS denies the allegations in ¶ 25.

       26.     The UTPCPL speaks for itself and is the best evidence of its contents. To

the extent the allegations state otherwise, they are denied.

                            RGS’ AFFIRMATIVE DEFENSES



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       1.     To the extent any violations are established, any such violations were not

intentional and resulted from bona fide error notwithstanding the maintenance of

procedures reasonably adapted to avoid any such error.

       2.     RGS denies any liability; however, regardless of liability, plaintiff has

suffered no actual damages as a result of RGS’s purported violations.

       3.     One or more claims asserted by plaintiff are barred by the statute of

limitations, laches, estoppel, wavier and/or unclean hands.

       4.     Assuming plaintiff suffered any damages, he has failed to mitigate his

damages or take other reasonable steps to avoid or reduce his damages.

       5.     Any harm suffered by plaintiff was legally and proximately caused by

persons or entities other than RGS and were beyond the control or supervision of RGS or

for whom RGS was and is not responsible or liable.

       6.     Plaintiff has failed to state a claim against RGS upon which relief may be

granted.

       7.     To the extent RGS attempted to collect a debt from plaintiff, the debt is not

subject to the FDCPA.

       8.     Plaintiff acquiesced in and/or consented to the acts and omissions alleged in

the complaint.

       9.     Plaintiff fails to plead one or claims with sufficient specificity.

       WHEREFORE, defendant, Radius Global Solutions, LLC, having answered

plaintiff’s complaint completely, respectfully requests that judgment be entered in its

favor and against plaintiff dismissing the complaint with prejudice and awarding


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defendant costs, attorneys' fees, and such other and further relief as the Court deems just

and proper.

Dated: September 18, 2018                Respectfully Submitted,


                                         /s/ Andrew J. Blady, Esq._________
                                         Andrew J. Blady, Esq.
                                         SESSIONS FISHMAN NATHAN & ISRAEL
                                         3682 Green Ridge Road
                                         Furlong, PA 18925
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                                         Counsel for Defendant,
                                         Radius Global Solutions, LLC




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                                                   CERTIFICATE OF SERVICE

           I hereby certify that on September 18, 2018 a copy of the foregoing was served

electronically via ECF, including on plaintiff’s counsel described below:

           Fred E. Davis, IV
           DAVIS CONSUMER LAW FIRM
           2300 Computer Road – Ste. G39
           Willow Grove, PA 19090



                                                                         /s/ Andrew J. Blady___________
                                                                         Andrew J. Blady, Esq.


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